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          Exhibit E
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                                                                     February 3, 2020

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

             Re:     Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 457856


Enclosed please find our invoice for the period ending December 31, 2019 in the amount of USD
$1,280.29, including disbursements. Together with an outstanding balance of USD $252,127.32, the
total amount due is USD $253,407.61. Please note that payment is due upon receipt of this invoice.



Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.
                                                                  Kobre & Kim
                                                                  +852 2127 3288
Encl.
      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 3 of 143




Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                   February 03, 2020
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 457856



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending December 31, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                               0.9 hours            $995/hour                       $895.50
Associate                             0.5 hours             695/hour                         347.50
Agreed Upon 3% Administrative Charge                                                         37.29

TOTAL CURRENT INVOICE                                                                    $1,280.29
PREVIOUS BALANCE                                                                        252,127.32

TOTAL AMOUNT DUE                                                                 USD $253,407.61


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
                                 $6,338.11              12,456.82              233,332.39


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.




                                                  1
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Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 457856                                    ATTORNEY-CLIENT COMMUNICATION
February 3, 2020




                                    Schedule of Professional Services




Date/Tkpr    Description of Work                                          Rate Hours     Amount

12/09/2019
        RH                                                              $995.00   0.1     $99.50



        RH                                                               995.00   0.4     398.00


        RH                                                               995.00   0.1      99.50
                                                          .


       RTM                                                               695.00   0.5     347.50


12/13/2019
        RH                                                               995.00   0.3     298.50




              Total Current Fees                                                        $1,243.00




                                      Schedule of Other Charges

Date         Description                                                                 Amount
01/06/2020   Agreed Upon 3% Administrative Charge                                         $37.29


              Total Other Charges                                                         $37.29


                                                  2
       Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 5 of 143



Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 457856                                    ATTORNEY-CLIENT COMMUNICATION
February 3, 2020


Total Current Fees, Charges & Disbursements                                       $1,280.29


                                              Amounts Due

Date                       Invoice No.                 Original Amount   Outstanding Amount
08/09/2019                   455602                         $46,764.58           $46,342.13

08/09/2019                   455896                         $45,005.85           $45,005.85

08/09/2019                   456029                         $16,538.20           $16,538.20

08/09/2019                   456252                         $49,638.28           $49,638.28

08/22/2019                   456525                         $45,912.18           $45,912.18

09/24/2019                   456785                         $12,812.17           $12,812.17

10/14/2019                   456955                         $17,083.58           $17,083.58

12/02/2019                   457377                         $12,456.82           $12,456.82

12/23/2019                   457601                          $6,338.11            $6,338.11


Previous Balance                                                                $252,127.32
Total Current Fees, Charges & Disbursements                                        1,280.29

TOTAL AMOUNT DUE                                                           USD $253,407.61




                                                  3
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 457856                                     ATTORNEY-CLIENT COMMUNICATION
February 3, 2020

                                       Payment Instructions


Total Amount Due:
        USD $253,407.61

Payment Terms:
        Payment is due upon receipt of this invoice.

If by wire or EFT, please remit the amount due to:




Or, if by check:
Make payable to




Please call with any questions.
                                                               Kobre & Kim
                                                               +852 2127 3288




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                                                                       March 20, 2019
PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link Motion, Inc.
pursuant to the Order of The Honorable Judge Victor Marrero of The
Southern District of New York

              Re:     Invoice for Services Rendered
                      For legal services in Hong Kong, Cayman Islands and The People’s Republic of
                      China as requested and needed by the Court Appointed Receiver and approved
                      by the Court in accordance with its Order approving retention of Kobre & Kim
                      to perform such work
                      Matter No. 01381.002, Invoice No. 455243



Enclosed please find our invoice for the period ending February 28, 2019 in the amount of USD
$124,577.55, including disbursements, which is within the budget communicated. Please note that
payment is due upon receipt of this invoice.

We appreciate the opportunity to work with you on this case. Please call with any questions.



                                                                    Kobre & Kim
                                                                    +852 2127 3288
Encl.
      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 8 of 143




Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                         March 20, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge Victor                Matter No. 01381.002
Marrero of The Southern District of New York                                     Invoice No. 455243

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

Re:       Invoice for Services Rendered for the period ending February 28, 2019
          Representation For legal services in Hong Kong, Cayman Islands and The People’s Republic of
          China as requested and needed by the Court Appointed Receiver and approved by the Court in
          accordance with its Order approving retention of Kobre & Kim to perform such work

                               Summary of Professional Services (USD)

Partner                               61.0 hours            $995/hour                     $60,695.00
Principal                              8.4 hours              925/hour                       7,770.00
Associate                             53.1 hours              695/hour                     36,904.50
Analyst                               12.2 hours              495/hour                       6,039.00
Litigation Support                    47.6 hours              195/hour                       9,282.00
Disbursements                                                                                 266.33
Agreed Upon 3% Administrative Charge                                                        3,620.72

TOTAL CURRENT INVOICE                                                                    $124,577.55

TOTAL AMOUNT DUE                                                                   USD $124,577.55


                                            Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.




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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                                   ATTORNEY-CLIENT COMMUNICATION
March 20, 2019



                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours     Amount
02/04/2019
       RA                                .                             $995.00   0.2   $199.00

02/08/2019
     RTM                                                                695.00   3.5   2,432.50




       RA                                                               995.00   1.5   1,492.50




02/09/2019
     RTM                                                                695.00   1.5   1,042.50



        JH                                                              995.00   2.2   2,189.00



02/11/2019
     RTM                                                                695.00   0.5    347.50


      SZW                                                               995.00   1.0    995.00




                                                 2
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Rob Seiden                                              PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                                 ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                               Rate Hours     Amount
02/12/2019
      YXL                                                     495.00   0.6    297.00
                                           .

     RTM                                                      695.00   2.0   1,390.00



                                   .

       RA                                                     995.00   0.5    497.50




       RA                                                     995.00   0.3    298.50

       RA                                                .    995.00   0.2    199.00

       RA                                                     995.00   0.8    796.00
                     .

      SZW                                                     995.00   1.0    995.00

                            .

02/13/2019
      YXL                                                     495.00   0.2     99.00


     RTM                                                      695.00   0.5    347.50


                                       .

       RA                                                     995.00   1.5   1,492.50

                                                     .




                                               3
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Rob Seiden                                          PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                             ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                           Rate Hours     Amount
       RA                                                 995.00   1.0    995.00



02/14/2019
       RA                          .                      995.00   0.2    199.00

02/15/2019
     RTM                                                  695.00   1.0    695.00
                                       .

       RA                                                 995.00   0.2    199.00


       RA                                                 995.00   0.3    298.50



02/16/2019
       RA                                                 995.00   2.5   2,487.50



02/17/2019
     RTM                                                  695.00   9.0   6,255.00




       RA                                                 995.00   1.8   1,791.00


       RA                                                 995.00   1.8   1,791.00

                                                  .




                                           4
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                       ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                           Rate Hours     Amount
02/18/2019
     RTM                                                  695.00   0.5    347.50



       RA                                                 995.00   0.8    796.00




       RA                                 .               995.00   0.8    796.00

       RA                                     .           995.00   0.2    199.00

       RA                                         .       995.00   0.3    298.50

02/19/2019
     RTM                                                  695.00   4.3   2,988.50


                                                      .


       KY                                                 195.00   1.0    195.00




       RA                                                 995.00   0.8    796.00


                       .

       RA                                                 995.00   3.0   2,985.00
                                         .




                                     5
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Rob Seiden                                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                                       ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                                     Rate Hours     Amount
02/20/2019
      YXL                                                           495.00   2.4   1,188.00


                                             .

       KY                                                           195.00   0.5     97.50
                                                 .

       RA                                                           995.00   1.8   1,791.00


       RA                                                           995.00   0.5    497.50


       RA                                                           995.00   0.2    199.00
                                         .

      SZW                                                           995.00   0.8    796.00

                             .

02/21/2019
     RTM                                                            695.00   5.0   3,475.00




                                 .


     DCW                                                            195.00   0.8    156.00
                                     .

       KY                                                           195.00   2.6    507.00

                                     .




                                                     6
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                       ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
       RA                                             995.00   1.0     995.00




       RA                                             995.00   6.5    6,467.50




      SZW                                             995.00   0.8     796.00


02/22/2019
     MWZ                                         .    495.00   1.0     495.00

      YXL                                             495.00   4.7    2,326.50




                                             .



     NXW                                              695.00   1.1     764.50


                     s.



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Rob Seiden                                        PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                           ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr   Description of Work                            Rate Hours     Amount
     RTM                                                  695.00   1.0    695.00
                                                      .


       KY                                                 195.00   5.5   1,072.50




                                         .



     DCW                                                  195.00   5.0    975.00



       RA                                                 995.00   0.2    199.00


      SZW                                                 995.00   0.8    796.00

                                                  .

       RA                                                 995.00   1.0    995.00


                          .

       RA                                                 995.00   0.5    497.50



       RA                                                 995.00   1.0    995.00

       RA                                                 995.00   1.1   1,094.50



       RA                                                 995.00   0.5    497.50




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Rob Seiden                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                         ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
       RA                                             995.00   0.3     298.50
                     .

       RA                                             995.00   1.5    1,492.50



       RA                                             995.00   0.4     398.00


       RA                                             995.00   1.0     995.00

                         .

       RA                                             995.00   1.5    1,492.50


       RA                                             995.00   0.8     796.00




      CKK                                             925.00   3.6    3,330.00



02/23/2019
      YXL                                             495.00   1.6     792.00
                                   .

       RA                                         .   995.00   0.5     497.50


      CKK                                             925.00   0.1      92.50




                                       9
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Rob Seiden                                           PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                              ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                            Rate Hours     Amount
02/25/2019
      YXL                                                  495.00   1.2    594.00




     RTM                                                   695.00   3.0   2,085.00


                                   .

     RTM                                                   695.00   0.5    347.50



     TMW                                                   695.00   1.0    695.00

                               .

     TMW                                                   695.00   0.8    556.00




     DCW                                                   195.00   2.1    409.50

                                                 .

       KY                                                  195.00   6.8   1,326.00




                                            .




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Rob Seiden                                          PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                             ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr   Description of Work                            Rate Hours    Amount
      TLC                                                 195.00   0.4    78.00


                 .

       RA                                                 995.00   1.0   995.00




       RA                                                 995.00   0.2   199.00
                                      .

       RA                                                 995.00   1.0   995.00




       RA                                                 995.00   0.2   199.00


       RA                                                 995.00   0.5   497.50
                                  .

       RH                                                 995.00   0.2   199.00




       RH                                                 995.00   0.3   298.50




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Rob Seiden                                       PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                          ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                         Rate Hours     Amount
       RH                                               995.00   0.6    597.00




       RH                                               995.00   0.3    298.50


      CKK                                               925.00   4.7   4,347.50




02/26/2019
     TMW                                                695.00   1.5   1,042.50

                               .

     RTM                                                695.00   4.0   2,780.00




                                                    .



       KY                                               195.00   6.9   1,345.50




                                   .


      JMC                                               195.00   1.1    214.50


                     .




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Rob Seiden                                               PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                                  ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                                Rate Hours     Amount
       IFO                                                     195.00   0.7    136.50


                      .

      PWS                                                      195.00   1.4    273.00




                                               .


       RA                                                      995.00   1.2   1,194.00



                                       .

       RA                                                      995.00   0.2    199.00
                                   .

       RA                                                      995.00   0.1     99.50


       RA                                                      995.00   0.3    298.50
                  .

       RA                                                      995.00   0.6    597.00


       RA                                                      995.00   0.2    199.00



       RA                                                      995.00   0.3    298.50
                                           .



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Rob Seiden                                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                                      ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                                    Rate Hours     Amount
       RA                                                          995.00   0.2    199.00
                                       .

       RA                                                          995.00   0.2    199.00



      SZW                                                          995.00   0.4    398.00



       RH                                                          995.00   0.3    298.50


                                   .

       RH                                                          995.00   0.3    298.50
                                               .

       RH                                                          995.00   0.3    298.50
                                           .

       RH                                                          995.00   0.7    696.50


02/27/2019
     RTM                                                           695.00   5.0   3,475.00




                                                               .




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Rob Seiden                                       PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                          ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr    Description of Work                        Rate Hours     Amount
       KY                                              195.00   4.7    916.50




       RA                                              995.00   0.5    497.50


                                   .


       RA                                              995.00   0.2    199.00


       RA                                              995.00   0.3    298.50


02/28/2019
      YXL                                              495.00   0.5    247.50
                       .

     RTM                                               695.00   5.0   3,475.00




     TMW                                               695.00   0.4    278.00




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Rob Seiden                                       PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                          ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr   Description of Work                          Rate Hours     Amount
     TMW                                                695.00   1.5   1,042.50




     NXW                                                695.00   0.5    347.50


      JMC                                               195.00   1.4    273.00




       KY                                               195.00   6.7   1,306.50




                         .


       RA                                               995.00   0.6    597.00


       RA                                               995.00   0.4    398.00
                                                    .


       RA                                               995.00   2.0   1,990.00


       RA                          .                    995.00   0.2    199.00

       RA                                               995.00   0.3    298.50

       RA                                               995.00   0.5    497.50
                     .




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Rob Seiden                                               PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                                  ATTORNEY-CLIENT COMMUNICATION
March 20, 2019


Date/Tkpr     Description of Work                                 Rate Hours            Amount
        SZW                                                      995.00   0.8            796.00




               Total Current Fees                                                   $120,690.50




                                     Schedule of Other Charges

Date          Description                                                               Amount
03/01/2019                                                                            $3,620.72


               Total Other Charges                                                    $3,620.72


                                     Schedule of Disbursements

Date          Description                                                               Amount
02/22/2019                                                                              $133.17


02/25/2019                                                                               133.16



               Total Current Disbursements                                              $266.33

Total Current Fees, Charges & Disbursements                                         $124,577.55

TOTAL AMOUNT DUE                                                                USD $124,577.55




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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 455243                                     ATTORNEY-CLIENT COMMUNICATION
March 20, 2019



                                       Payment Instructions


Total Amount Due:

        USD $124,577.55

Payment Terms:

        Payment is due upon receipt of this invoice.




Or, if by check, make payable and mail to:




Please call with any questions.



                                                               Kobre & Kim




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                                                                     April 8, 2020

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 458261


Enclosed please find our invoice for the period ending February 29, 2020 in the amount of USD
$1,545, including disbursements. Together with an outstanding balance of USD $203,407.61, the
total amount due is USD $204,952.61. Please note that payment is due upon receipt of this invoice.

Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.

                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 27 of 143




Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                       April 08, 2020
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 458261



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:     Invoice for Services Rendered for the period ending February 29, 2020
        Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                            Summary of Professional Services (USD)

Associate                            2.0 hours            $750/hour                      $1,500.00
Agreed Upon 3% Administrative Charge                                                          45.00

TOTAL CURRENT INVOICE                                                                    $1,545.00
PREVIOUS BALANCE                                                                        203,407.61

TOTAL AMOUNT DUE                                                                 USD $204,952.61


                                         Aging Summary

         0-30 days             31-60 days               61-90 days            Over 90 days
                                                        $1,280.29              202,127.32


                                         Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.




                                                 1
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Rob Seiden                                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 458261                                         ATTORNEY-CLIENT COMMUNICATION
April 8, 2020




                                     Schedule of Professional Services




Date/Tkpr     Description of Work                                          Rate Hours     Amount

02/03/2020
        RTM                                                              $750.00   2.0   $1,500.00

                                                       .


               Total Current Fees                                                        $1,500.00




                                       Schedule of Other Charges

Date          Description                                                                 Amount
03/04/2020                                                                                 $45.00


               Total Other Charges                                                         $45.00

Total Current Fees, Charges & Disbursements                                              $1,545.00




                                                   2
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Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 458261                                    ATTORNEY-CLIENT COMMUNICATION
April 8, 2020



                                              Amounts Due

Date                       Invoice No.                 Original Amount   Outstanding Amount
08/09/2019                   455896                         $45,005.85           $41,347.98

08/09/2019                   456029                         $16,538.20           $16,538.20

08/09/2019                   456252                         $49,638.28           $49,638.28

08/22/2019                   456525                         $45,912.18           $45,912.18

09/24/2019                   456785                         $12,812.17           $12,812.17

10/14/2019                   456955                         $17,083.58           $17,083.58

12/02/2019                   457377                         $12,456.82           $12,456.82

12/23/2019                   457601                          $6,338.11            $6,338.11

02/03/2020                   457856                          $1,280.29            $1,280.29


Previous Balance                                                                $203,407.61
Total Current Fees, Charges & Disbursements                                        1,545.00

TOTAL AMOUNT DUE                                                           USD $204,952.61




                                                  3
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 458261                                     ATTORNEY-CLIENT COMMUNICATION
April 8, 2020

                                       Payment Instructions


Total Amount Due:
        USD $204,952.61

Payment Terms:
        Payment is due upon receipt of this invoice.

If by wire or EFT, please remit the amount due to:




        *

Or, if by check:
Make payable




        *
Please call with any questions.
                                                               Kobre & Kim
                                                               +852 2127 3288




                                                4
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                                                                     August 9, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 455602


Enclosed please find our invoice for the period ending March 31, 2019 in the amount of USD
$46,764.58, including disbursements. Together with an outstanding balance of USD $49,595.85, the
total amount due is USD $96,360.43. Please note that payment is due upon receipt of this invoice.



Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                                   ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours     Amount
03/01/2019
     SZW                                                               $995.00   0.4   $398.00




       RA                                                               995.00   3.6   3,582.00




     NXW                                                                695.00   2.1   1,459.50




     RTM                                                                695.00   2.5   1,737.50




     DCW                                                                195.00   0.8    156.00


      JMC                                                               195.00   0.3     58.50


                             .
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Rob Seiden                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                      ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours     Amount
       KY                                             195.00   5.0     975.00




      SYL                                             195.00   3.1     604.50



      SYL                                             195.00   1.6     312.00


      SYL                                             195.00   2.0     390.00
                       .

03/04/2019
       RA                                             995.00   0.4     398.00



     RTM                                              695.00   0.4     278.00



       KY                                             195.00   2.4     468.00
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Rob Seiden                                     PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                        ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
03/05/2019
       RA                                             995.00   1.6    1,592.00




      LXS                                             925.00   0.4     370.00


     RTM                                              695.00   0.5     347.50



       KY                                             195.00   4.3     838.50




03/06/2019
       RA                                             995.00   0.5     497.50
                                      .

     RTM                                              695.00   1.3     903.50




      JMC                                             195.00   0.7     136.50


                             .
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Rob Seiden                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                      ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours     Amount
03/07/2019
     DCW                                              195.00   2.0     390.00




     TMW                                              695.00   0.3     208.50


     TMW                                              695.00   0.5     347.50

                               .

       KY                                             195.00   0.8     156.00



                        .

03/08/2019
       RA                                             995.00   0.9     895.50




     TMW                                              695.00   0.5     347.50


       KY                                             195.00   0.3      58.50



03/10/2019
     RTM                                              695.00   0.2     139.00
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Rob Seiden                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                         ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours         Amount
03/11/2019
       RA                                             995.00   0.1          99.50


      JMC                                             195.00   0.5          97.50




      TLC                                                      0.4   Complimentary


       KY                                             195.00   1.4         273.00




03/12/2019
     SZW                                              995.00   0.6         597.00
                                       .

       RA                                             995.00   1.4       1,393.00




     NXW                                              695.00   2.0       1,390.00



     RTM                                              695.00   0.5         347.50

                                   .
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
       KY                                             195.00   1.0     195.00




03/13/2019
       RA                                             995.00   1.7    1,691.50


                                                .


     NXW                                              695.00   1.3     903.50


     DCW                                              195.00   0.7     136.50
                     .

03/14/2019
       RH                                             995.00   0.2     199.00



03/15/2019
       RA                                             995.00   0.2     199.00


       KY                                             195.00   1.5     292.50




03/18/2019
       RA                                             995.00   1.1    1,094.50



                                     .
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Rob Seiden                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                      ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
       KY                                             195.00   1.0     195.00


03/19/2019
       RA                                             995.00   1.5    1,492.50




       KY                                             195.00   1.6     312.00



03/20/2019
       RA                                             995.00   0.8     796.00




       RA                                             995.00   1.3    1,293.50




       KY                                             195.00   1.0     195.00


03/21/2019
       KY                                             195.00   1.0     195.00
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Rob Seiden                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                      ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours     Amount
03/22/2019
       RA                                             995.00   0.6     597.00




       RA                                             995.00   0.5     497.50




       RA                                             995.00   0.4     398.00



       RA                                             995.00   0.3     298.50



       RA                                             995.00   0.2     199.00


       RA                                     .       995.00   0.7     696.50

      YXL                                             495.00   1.6     792.00

                              .

       KY                                             195.00   1.7     331.50




03/25/2019
       RA                                             995.00   0.3     298.50
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Rob Seiden                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                      ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                         Rate Hours    Amount
       RA                                               995.00   0.5   497.50

                                                .

       RA                                               995.00   0.2   199.00
                     .

       KY                                               195.00   1.4   273.00




03/26/2019
       RH                                               995.00   0.5   497.50


       RH                                               995.00   0.1    99.50
                                            .

       RA                                               995.00   0.7   696.50



                                        .



       RA                                               995.00   0.4   398.00



       RA                                           .   995.00   0.1    99.50

       KY                                               195.00   0.5    97.50




03/27/2019
       RA                                               995.00   0.2   199.00
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Rob Seiden                                          PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                             ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                           Rate Hours       Amount
       RA                                                 995.00   0.2      199.00


       RA                                  .              995.00   1.2     1,194.00

     RTM                           .                      695.00   1.2      834.00

03/29/2019
       RH                                                 995.00   1.5     1,492.50

       RA                                                 995.00   0.5      497.50



       RA                                                 995.00   2.2     2,189.00




       RA                                                 995.00   0.2      199.00

                                       .

       RA                                                 995.00   0.2      199.00




              Total Current Fees                                         $45,402.50
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Rob Seiden                                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                          Schedule of Other Charges

Date          Description                                                              Amount
04/02/2019                                                                           $1,362.08


               Total Other Charges                                                   $1,362.08

Total Current Fees, Charges & Disbursements                                         $46,764.58


                                                Amounts Due

Date                        Invoice No.                    Original Amount   Outstanding Amount
03/20/2019                   455243                           $124,577.55           $49,595.85


Previous Balance                                                                    $49,595.85
Total Current Fees, Charges & Disbursements                                          46,764.58

TOTAL AMOUNT DUE                                                                USD $96,360.43
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 455602                                     ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                       Payment Instructions


Total Amount Due:

        USD $96,360.43

Payment Terms:

        Payment is due upon receipt of this invoice.




Please call with any questions.



                                                               Kobre & Kim
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                                                                     August 9, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 455896


Enclosed please find our invoice for the period ending April 30, 2019 in the amount of USD
$45,005.85, including disbursements. Together with an outstanding balance of USD $96,360.43, the
total amount due is USD $141,366.28. Please note that payment is due upon receipt of this invoice.



Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 45 of 143




Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                     August 09, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 455896



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending April 30, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                              32.4 hours            $995/hour                   $32,238.00
Associate                             8.1 hours             695/hour                      5,629.50
Analyst                              10.0 hours             495/hour                      4,950.00
Litigation Support                    4.5 hours             195/hour                         877.50
Disbursements                                                                                  0.00
Agreed Upon 3% Administrative Charge                                                      1,310.85

TOTAL CURRENT INVOICE                                                                  $45,005.85
PREVIOUS BALANCE                                                                         96,360.43

TOTAL AMOUNT DUE                                                                 USD $141,366.28


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
          $91,770.43                                                           49,595.85


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.
                                                  1
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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                                   ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours      Amount
04/01/2019
       RA                                                              $995.00   1.5   $1,492.50




       KY                                                               195.00   0.3      58.50




04/02/2019
       RH                                                               995.00   0.6     597.00




       RA                                                               995.00   4.7    4,676.50




     RTM                                                                695.00   4.8    3,336.00




                                                 2
    Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 47 of 143



Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours         Amount
04/03/2019
       RH                                             995.00   0.8         796.00




       RA                                             995.00   1.0         995.00




      TLC                                             195.00   1.7         331.50




04/08/2019
       RH                                             995.00   0.4         398.00



       RA                                                      0.5   Complimentary

       RA                                        .    995.00   0.2         199.00


04/09/2019
       RA                                                      0.2   Complimentary




                                     3
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
04/10/2019
       RH                                             995.00   1.1    1,094.50




       RA                                             995.00   0.2     199.00
                            .

       RA                                             995.00   0.5     497.50
                                .

      TLC                                             195.00   0.3      58.50




04/11/2019
       RA                                             995.00   0.1      99.50


      TLC                                             195.00   0.5      97.50




     TMW                                              695.00   0.8     556.00



     TMW                                              695.00   0.7     486.50




                                     4
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
04/12/2019
       RH                                             995.00   0.7     696.50




       RA                                             995.00   3.1    3,084.50




      DFY                                             995.00   1.0     995.00




      MIK                                             495.00   5.4    2,673.00


                       .

     TMW                                              695.00   0.9     625.50




04/15/2019
       RA                                             995.00   0.7     696.50




                                     5
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Rob Seiden                                          PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                             ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                           Rate Hours     Amount
      MIK                                                 495.00   4.6   2,277.00




       KY                                                 195.00   0.5     97.50



04/16/2019
      DFY                                                 995.00   0.6    597.00


                     .

04/17/2019
       RA                                      .          995.00   0.3    298.50

      DFY                                                 995.00   0.4    398.00
                                       .

04/18/2019
     RTM                                                  695.00   0.5    347.50




                                   .

04/22/2019
      DFY                                                 995.00   2.4   2,388.00




                                           6
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Rob Seiden                                          PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                             ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                           Rate Hours     Amount
04/23/2019
       RA                                                 995.00   0.4    398.00




     RTM                                                  695.00   0.2    139.00
                                   .

       KY                                                 195.00   1.2    234.00



04/24/2019
       RH                                                 995.00   0.4    398.00

                                                   .


       RA                                                 995.00   1.8   1,791.00




     RTM                                                  695.00   0.2    139.00
                                       .

04/25/2019
       RH                                                 995.00   0.8    796.00


       RH                                                 995.00   3.2   3,184.00




                                           7
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
       RA                                             995.00   1.8    1,791.00




04/26/2019
       RA                                             995.00   1.0     995.00




                            .


04/29/2019
       RH                                             995.00   1.1    1,094.50




       RH                                             995.00   0.6     597.00




04/30/2019
       RH                                             995.00   0.2     199.00




       RH                                             995.00   0.3     298.50

                                                .



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Rob Seiden                                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr     Description of Work                                             Rate Hours            Amount
         RA                                                                  995.00   0.5            497.50




               Total Current Fees                                                                $43,695.00




                                          Schedule of Other Charges

Date          Description                                                                           Amount
05/02/2019    Agreed Upon 3% Administrative Charge                                                $1,310.85


               Total Other Charges                                                                $1,310.85

Total Current Fees, Charges & Disbursements                                                      $45,005.85


                                                Amounts Due

Date                        Invoice No.                    Original Amount             Outstanding Amount
03/20/2019                   455243                           $124,577.55                        $49,595.85

08/09/2019                   455602                              46,764.58                        46,764.58


Previous Balance                                                                                 $96,360.43
Total Current Fees, Charges & Disbursements                                                       45,005.85

TOTAL AMOUNT DUE                                                                            USD $141,366.28




                                                     9
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 455896                                     ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                       Payment Instructions


Total Amount Due:

        USD $141,366.28

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT,




Or, if by check, make payable and mail to:




Please call with any questions.



                                                               Kobre & Kim




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                                                                     August 9, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 456029


Enclosed please find our invoice for the period ending May 31, 2019 in the amount of USD
$16,538.20, including disbursements. Together with an outstanding balance of USD $141,366.28,
the total amount due is USD $157,904.48. Please note that payment is due upon receipt of this
invoice.

Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 56 of 143




Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                     August 09, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 456029



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending May 31, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                              11.7 hours            $995/hour                   $11,641.50
Associate                             6.1 hours             695/hour                      4,239.50
Litigation Support                    0.9 hours             195/hour                         175.50
Disbursements                                                                                  0.00
Agreed Upon 3% Administrative Charge                                                       481.70

TOTAL CURRENT INVOICE                                                                  $16,538.20
PREVIOUS BALANCE                                                                       141,366.28

TOTAL AMOUNT DUE                                                                 USD $157,904.48


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
          $108,308.63                                                          49,595.85


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.


                                                  1
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Rob Seiden                                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 456029                                      ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                      Schedule of Professional Services

Date/Tkpr    Description of Work                                            Rate Hours     Amount
05/01/2019
       RA                                                                 $995.00   0.5   $497.50


05/02/2019
       RH                                                                  995.00   0.6    597.00




       RA                                                                  995.00   0.2    199.00
                                  .

05/03/2019
       RA                                                                  995.00   0.6    597.00




05/05/2019
       RA                                                                  995.00   1.2   1,194.00


05/06/2019
       RA                                                                  995.00   1.0    995.00




     RTM                                                                   695.00   0.4    278.00

                              .


                                                    2
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Rob Seiden                                        PRIVILEGED & CONFIDENTIAL
Invoice No. 456029                           ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                         Rate Hours     Amount
05/07/2019
       RA                                               995.00   1.2   1,194.00




05/08/2019
       RA                                               995.00   0.8    796.00




05/10/2019
     RTM                                                695.00   0.3    208.50


05/14/2019
       RA                                               995.00   1.2   1,194.00




     RTM                                 .              695.00   0.4    278.00

05/15/2019
       RA                                               995.00   0.2    199.00


05/16/2019
       RA                                               995.00   2.9   2,885.50




     RTM                                                695.00   0.5    347.50
                              .

                                     3
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Rob Seiden                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 456029                         ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
05/17/2019
       RA                                             995.00   0.5     497.50




     LLW                                              195.00   0.9     175.50


                                   .

05/20/2019
       RA                                             995.00   0.1      99.50

05/22/2019
     RTM                                              695.00   0.2     139.00
                                       .

05/23/2019
       RA                                             995.00   0.5     497.50


     RTM                                              695.00   1.0     695.00
                                             .

05/28/2019
       RA                                        .    995.00   0.2     199.00

05/29/2019
     RTM                                              695.00   2.5    1,737.50




05/30/2019
     RTM                                              695.00   0.4     278.00



                                       4
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Rob Seiden                                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 456029                                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr     Description of Work                                             Rate Hours            Amount
05/31/2019
        RTM                                                                  695.00   0.4            278.00




               Total Current Fees                                                                $16,056.50




                                          Schedule of Other Charges

Date          Description                                                                           Amount
06/04/2019    Agreed Upon 3% Administrative Charge                                                  $481.70


               Total Other Charges                                                                  $481.70

Total Current Fees, Charges & Disbursements                                                      $16,538.20


                                                Amounts Due

Date                        Invoice No.                    Original Amount             Outstanding Amount
03/20/2019                   455243                           $124,577.55                        $49,595.85

08/09/2019                   455602                              46,764.58                        46,764.58

08/09/2019                   455896                              45,005.85                        45,005.85


Previous Balance                                                                                $141,366.28
Total Current Fees, Charges & Disbursements                                                       16,538.20

TOTAL AMOUNT DUE                                                                            USD $157,904.48




                                                     5
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 456029                                     ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                       Payment Instructions


Total Amount Due:

        USD $157,904.48

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT,




Or, if by check,




Please call with any questions.



                                                               Kobre & Kim
                                                               +852 2127 3288



                                                6
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                                                                     August 9, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 456252


Enclosed please find our invoice for the period ending June 30, 2019 in the amount of USD
$49,638.28, including disbursements. Together with an outstanding balance of USD $157,904.48,
the total amount due is USD $207,542.76. Please note that payment is due upon receipt of this
invoice.

Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 63 of 143




Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                     August 09, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 456252



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending June 30, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                              16.5 hours            $995/hour                   $16,417.50
Associate                            42.1 hours             695/hour                     29,259.50
Litigation Support                   12.9 hours             195/hour                      2,515.50
Disbursements                                                                                 0.00
Agreed Upon 3% Administrative Charge                                                      1,445.78

TOTAL CURRENT INVOICE                                                                  $49,638.28
PREVIOUS BALANCE                                                                       157,904.48

TOTAL AMOUNT DUE                                                                 USD $207,542.76


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
          $157,946.91                                                          49,595.85


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.


                                                  1
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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                                   ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours     Amount
06/03/2019
     RTM                                                               $695.00   0.5   $347.50
                             .

06/04/2019
       RA                                                               995.00   0.4    398.00



     RTM                                                                695.00   0.3    208.50

06/05/2019
       RA                                                               995.00   0.8    796.00



     RTM                                                                695.00   5.0   3,475.00




06/09/2019
       RA                                                               995.00   0.1     99.50


       RA                                                               995.00   0.3    298.50


       RA                                                               995.00   0.5    497.50


       RA                                                          .    995.00   0.2    199.00




                                                 2
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Rob Seiden                                          PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                             ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                            Rate Hours     Amount
06/10/2019
     RTM                                                   695.00   3.5   2,432.50




06/11/2019
       RA                                              .   995.00   0.3    298.50

       RA                                          .       995.00   0.2    199.00

       RA                                                  995.00   0.3    298.50



     RTM                                                   695.00   1.5   1,042.50




06/12/2019
       RA                                                  995.00   0.6    597.00

                                       .

       RA                                                  995.00   1.5   1,492.50

                                   .

     RTM                                                   695.00   4.5   3,127.50




                                           3
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Rob Seiden                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                         ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
06/13/2019
       RA                                             995.00   1.5    1,492.50



     RTM                                              695.00   3.3    2,293.50




06/14/2019
     RTM                                              695.00   0.5     347.50



       KY                                             195.00   2.0     390.00


                     .

06/17/2019
       RA                                             995.00   0.4     398.00
                                   .

       KY                                             195.00   2.5     487.50




06/18/2019
       RA                                             995.00   0.1      99.50




                                       4
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Rob Seiden                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                         ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                          Rate Hours     Amount
     RTM                                                 695.00   0.2    139.00
                                   .

06/19/2019
       RA                                                995.00   0.6    597.00



       RA                                        .       995.00   0.2    199.00


     RTM                                                 695.00   3.0   2,085.00




                               .

06/20/2019
       RA                                                995.00   1.2   1,194.00



                               .

       RA                                                995.00   0.2    199.00
                       .

       RA                                            .   995.00   0.2    199.00


     RTM                                                 695.00   3.0   2,085.00




                                       5
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                       ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr    Description of Work                          Rate Hours         Amount
       KY                                                195.00   8.4       1,638.00



06/21/2019
       RA                                        .       995.00   3.0       2,985.00

       RA                                                995.00   0.3         298.50

       RA                                                         0.3   Complimentary

     RTM                                                 695.00   3.5       2,432.50



06/24/2019
       RA                                                995.00   2.5       2,487.50


                                                     .


     RTM                                                 695.00   3.5       2,432.50


                                         .

06/25/2019
       RA                                                995.00   0.2         199.00


     RTM                                                 695.00   0.3         208.50



06/27/2019
       RA                                    .           995.00   0.4         398.00




                                     6
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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                                   ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Date/Tkpr     Description of Work                                 Rate Hours       Amount
        RTM                                                      695.00   5.0     3,475.00




06/28/2019
         RA                                                      995.00   0.5      497.50
                        .

        RTM                                                      695.00   4.5     3,127.50




               Total Current Fees                                               $48,192.50




                                     Schedule of Other Charges

Date          Description                                                          Amount
07/03/2019    Agreed Upon 3% Administrative Charge                               $1,445.78


               Total Other Charges                                               $1,445.78




                                                7
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Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                                    ATTORNEY-CLIENT COMMUNICATION
August 9, 2019


Total Current Fees, Charges & Disbursements                                      $49,638.28


                                              Amounts Due

Date                       Invoice No.                 Original Amount    Outstanding Amount
03/20/2019                   455243                         $124,577.55          $49,595.85

08/09/2019                   455602                           46,764.58           46,764.58

08/09/2019                   455896                           45,005.85           45,005.85

08/09/2019                   456029                           16,538.20           16,538.20


Previous Balance                                                                $157,904.48
Total Current Fees, Charges & Disbursements                                       49,638.28

TOTAL AMOUNT DUE                                                           USD $207,542.76




                                                  8
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 456252                                     ATTORNEY-CLIENT COMMUNICATION
August 9, 2019



                                       Payment Instructions


Total Amount Due:

        USD $207,542.76

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT,




Or, if by check,




Please call with any questions.



                                                               Kobre & Kim




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                                                                     August 22, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 456525


Enclosed please find our invoice for the period ending July 31, 2019 in the amount of USD
$45,912.18, including disbursements, which is within the communicated budget. Together with an
outstanding balance of USD $207,542.76, the total amount due is USD $253,454.94. Please note
that payment is due upon receipt of this invoice.

Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
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Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                     August 22, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 456525



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending July 31, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                              28.9 hours            $995/hour                   $28,755.50
Associate                            17.6 hours             695/hour                     12,232.00
Analyst                               0.8 hours             495/hour                         396.00
Litigation Support                   15.7 hours             195/hour                      3,061.50
Disbursements                                                                                133.83
Agreed Upon 3% Administrative Charge                                                      1,333.35

TOTAL CURRENT INVOICE                                                                  $45,912.18
PREVIOUS BALANCE                                                                       207,542.76

TOTAL AMOUNT DUE                                                                 USD $253,454.94


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
          $203,859.09                                                          49,595.85


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.
                                                  1
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Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                                    ATTORNEY-CLIENT COMMUNICATION
August 22, 2019



                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours         Amount
07/01/2019
       RA                                                              $995.00   2.0      $1,990.00


                                                  .

07/02/2019
       RA                                                               995.00   0.7         696.50




       RA                                                                        0.2   Complimentary

       RA                                                                        0.2   Complimentary

     RTM                                                                695.00   5.0       3,475.00




      MIK                                                               495.00   0.8         396.00
                           .

07/03/2019
       RA                                                 .             995.00   0.8         796.00




                                                 2
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Rob Seiden                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                         ATTORNEY-CLIENT COMMUNICATION
August 22, 2019


Date/Tkpr    Description of Work                        Rate Hours     Amount
     RTM                                               695.00   2.0   1,390.00




07/04/2019
       RA                                              995.00   0.5    497.50

                             .

     RTM                                               695.00   2.5   1,737.50




07/05/2019
       RA                                              995.00   0.3    298.50

     RTM                                               695.00   1.0    695.00



                       .

07/08/2019
       RH                                              995.00   0.3    298.50



       RH                                              995.00   0.8    796.00


                                   .


       RA                                          .   995.00   0.2    199.00




                                       3
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Rob Seiden                                     PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                        ATTORNEY-CLIENT COMMUNICATION
August 22, 2019


Date/Tkpr    Description of Work                         Rate Hours     Amount
     RTM                                                695.00   1.5   1,042.50




07/09/2019
       RH                                               995.00   5.1   5,074.50




       RH                                               995.00   0.4    398.00


       RA                                           .   995.00   0.2    199.00


       RA                                       .       995.00   0.3    298.50

     RTM                                                695.00   1.0    695.00




     RTM                              .                 695.00   0.5    347.50

07/10/2019
       RH                                               995.00   1.3   1,293.50




                                     4
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Rob Seiden                                        PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                           ATTORNEY-CLIENT COMMUNICATION
August 22, 2019


Date/Tkpr    Description of Work                            Rate Hours         Amount
       RH                                                           0.2   Complimentary




       RA                                              .   995.00   0.3         298.50


       RA                                                  995.00   0.2         199.00


     RTM                                                   695.00   0.3         208.50
                          .

     LLW                                                   195.00   0.8         156.00




07/11/2019
       RA                                          .       995.00   1.7       1,691.50

       RA                                                  995.00   4.0       3,980.00

                     ;.

     RTM                                                   695.00   2.5       1,737.50

                                               .


07/12/2019
       RH                                                           0.3   Complimentary


       RA                                                  995.00   0.2         199.00
                                         .




                                     5
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Rob Seiden                                              PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                                 ATTORNEY-CLIENT COMMUNICATION
August 22, 2019


Date/Tkpr    Description of Work                               Rate Hours     Amount
       KY                                                     195.00   2.3    448.50




07/16/2019
       RA                                                     995.00   3.0   2,985.00




07/18/2019
       RA                                                     995.00   0.1     99.50
                          .

07/19/2019
       RA                                                     995.00   0.3    298.50
                                               .

       RA                                                     995.00   0.2    199.00
                                   .

07/23/2019
       RA                                                     995.00   4.5   4,477.50




       RA                              .                      995.00   0.3    298.50




                                           6
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Rob Seiden                                          PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                             ATTORNEY-CLIENT COMMUNICATION
August 22, 2019


Date/Tkpr    Description of Work                            Rate Hours    Amount
       RA                                              .   995.00   0.1    99.50


     LLW                                                   195.00   1.9   370.50



                                   .

     LLW                                                   195.00   0.2    39.00




07/24/2019
       RH                                                  995.00   0.2   199.00



       RA                                                  995.00   0.6   597.00



       KY                                                  195.00   2.6   507.00




     LLW                                                   195.00   0.5    97.50
                                           .

     LLW                                                   195.00   1.0   195.00




                                       7
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Rob Seiden                                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                                      ATTORNEY-CLIENT COMMUNICATION
August 22, 2019


Date/Tkpr     Description of Work                                     Rate Hours       Amount
07/30/2019
         RA                                                          995.00   0.2      199.00



         RA                                                          995.00   0.1       99.50
                                     .

        RTM                                                          695.00   1.0      695.00




         KY                                                          195.00   5.8     1,131.00



         KY                                                          195.00   0.6      117.00



07/31/2019
        RTM                                                          695.00   0.3      208.50



               Total Current Fees                                                   $44,445.00




                                         Schedule of Other Charges

Date          Description                                                              Amount
08/05/2019    Agreed Upon 3% Administrative Charge                                   $1,333.35


               Total Other Charges                                                   $1,333.35




                                                    8
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Rob Seiden                                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                                       ATTORNEY-CLIENT COMMUNICATION
August 22, 2019

                                          Schedule of Disbursements

Date          Description                                                              Amount
07/23/2019                                                                             $133.83



               Total Current Disbursements                                             $133.83

Total Current Fees, Charges & Disbursements                                         $45,912.18


                                                Amounts Due

Date                        Invoice No.                    Original Amount   Outstanding Amount
03/20/2019                   455243                           $124,577.55           $49,595.85

08/09/2019                   455602                             46,764.58            46,764.58

08/09/2019                   455896                             45,005.85            45,005.85

08/09/2019                   456029                             16,538.20            16,538.20

08/09/2019                   456252                             49,638.28            49,638.28


Previous Balance                                                                   $207,542.76
Total Current Fees, Charges & Disbursements                                          45,912.18

TOTAL AMOUNT DUE                                                              USD $253,454.94




                                                     9
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 456525                                     ATTORNEY-CLIENT COMMUNICATION
August 22, 2019



                                       Payment Instructions


Total Amount Due:

        USD $253,454.94

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT, please remit the amount due to:




Or, if by check, make payable and mail to:




Please call with any questions.



                                                               Kobre & Kim




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    Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 83 of 143




                                                                     September 24, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 456785


Enclosed please find our invoice for the period ending August 31, 2019 in the amount of USD
$12,812.17, including disbursements. Together with an outstanding balance of USD $253,454.94,
the total amount due is USD $266,267.11. Please note that payment is due upon receipt of this
invoice.

Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 84 of 143




Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                 September 24, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 456785



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending August 31, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                               4.6 hours            $995/hour                     $4,577.00
Associate                             8.2 hours             695/hour                      5,699.00
Analyst                               1.1 hours             495/hour                         544.50
Litigation Support                    8.3 hours             195/hour                      1,618.50
Disbursements                                                                                  0.00
Agreed Upon 3% Administrative Charge                                                       373.17

TOTAL CURRENT INVOICE                                                                  $12,812.17
PREVIOUS BALANCE                                                                       253,454.94

TOTAL AMOUNT DUE                                                                 USD $266,267.11


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
          $12,812.17             203,859.09                                    49,595.85


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.
                                                  1
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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 456785                                   ATTORNEY-CLIENT COMMUNICATION
September 24, 2019



                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours    Amount
08/01/2019
       RA                                                              $995.00   0.3   $298.50


     RTM                                                                695.00   0.5    347.50




     LLW                                                                195.00   0.7    136.50
                              .

08/02/2019
       RA                                                               995.00   0.1     99.50


08/03/2019
       RA                                                               995.00   0.2    199.00



08/05/2019
       RA                                 .                             995.00   0.2    199.00

       RA                                                               995.00   0.3    298.50


       RA                                                               995.00   0.6    597.00


     RTM                                                        .       695.00   0.6    417.00




                                                 2
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 456785                       ATTORNEY-CLIENT COMMUNICATION
September 24, 2019


Date/Tkpr    Description of Work                       Rate Hours         Amount
08/06/2019
       RA                                             995.00   1.0         995.00




       RA                                             995.00   0.2         199.00


     RTM                                              695.00   2.8       1,946.00




     RTM                                              695.00   1.0         695.00



08/07/2019
       RA                                             995.00   0.1          99.50

     RTM                                              695.00   1.0         695.00



     MWZ                                    .         495.00   0.4         198.00

08/08/2019
       RA                                                      0.5   Complimentary


       RA                                       .     995.00   0.1          99.50

     RTM                                              695.00   0.1          69.50




                                     3
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Rob Seiden                                      PRIVILEGED & CONFIDENTIAL
Invoice No. 456785                         ATTORNEY-CLIENT COMMUNICATION
September 24, 2019


Date/Tkpr    Description of Work                        Rate Hours    Amount
08/09/2019
       RA                          .                   995.00   0.2    199.00

08/14/2019
       RA                                              995.00   0.2    199.00

     RTM                                               695.00   0.8    556.00



     MWZ                                               495.00   0.7    346.50


08/15/2019
     RTM                                               695.00   0.4    278.00


08/16/2019
       RA                                      .       995.00   0.1     99.50

08/19/2019
       RA                                              995.00   0.4    398.00

       KY                                              195.00   1.2    234.00




08/20/2019
       RA                                          .   995.00   0.1     99.50

08/27/2019
       RA                                              995.00   0.1     99.50




                                       4
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Rob Seiden                                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 456785                                       ATTORNEY-CLIENT COMMUNICATION
September 24, 2019


Date/Tkpr     Description of Work                                    Rate Hours       Amount
         KY                                                         195.00   6.4     1,248.00




                     .

08/29/2019
         RA                                          .              995.00   0.2      199.00

        RTM                                                         695.00   1.0      695.00




08/30/2019
         RA                                                         995.00   0.2      199.00



               Total Current Fees                                                  $12,439.00




                                     Schedule of Other Charges

Date          Description                                                             Amount
09/03/2019    Agreed Upon 3% Administrative Charge                                   $373.17


               Total Other Charges                                                   $373.17




                                                5
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Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 456785                                    ATTORNEY-CLIENT COMMUNICATION
September 24, 2019


Total Current Fees, Charges & Disbursements                                      $12,812.17


                                              Amounts Due

Date                       Invoice No.                 Original Amount    Outstanding Amount
03/20/2019                   455243                         $124,577.55          $49,595.85

08/09/2019                   455602                           46,764.58           46,764.58

08/09/2019                   455896                           45,005.85           45,005.85

08/09/2019                   456029                           16,538.20           16,538.20

08/09/2019                   456252                           49,638.28           49,638.28

08/22/2019                   456525                           45,912.18           45,912.18


Previous Balance                                                                $253,454.94
Total Current Fees, Charges & Disbursements                                       12,812.17

TOTAL AMOUNT DUE                                                           USD $266,267.11




                                                  6
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 456785                                     ATTORNEY-CLIENT COMMUNICATION
September 24, 2019



                                       Payment Instructions


Total Amount Due:

        USD $266,267.11

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT, please remit the amount due to:




Or, if by check, make payable and mail to:




Please call with any questions.



                                                               Kobre & Kim
                                                               +852 2127 3288



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                                                                     October 14, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 456955


Enclosed please find our invoice for the period ending September 30, 2019 in the amount of USD
$17,083.58, including disbursements. Together with an outstanding balance of USD $266,267.11,
the total amount due is USD $283,350.69. Please note that payment is due upon receipt of this
invoice.

Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
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Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                    October 14, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 456955



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending September 30, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                              12.9 hours            $995/hour                   $12,835.50
Associate                             2.5 hours             695/hour                      1,737.50
Analyst                               0.6 hours             495/hour                         297.00
Litigation Support                    8.8 hours             195/hour                      1,716.00
Disbursements                                                                                  0.00
Agreed Upon 3% Administrative Charge                                                       497.58

TOTAL CURRENT INVOICE                                                                  $17,083.58
PREVIOUS BALANCE                                                                       266,267.11

TOTAL AMOUNT DUE                                                                 USD $283,350.69


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
          $29,895.75             45,912.18              157,946.91             49,595.85


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.
                                                  1
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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 456955                                   ATTORNEY-CLIENT COMMUNICATION
October 14, 2019



                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours      Amount
09/06/2019
       RA                                                              $995.00   1.5   $1,492.50


09/09/2019
       RA                                                               995.00   6.0    5,970.00




     RTM                                                                695.00   0.3     208.50
                     .

      MIK                                                               495.00   0.6     297.00


09/10/2019
       RA                                                               995.00   2.5    2,487.50




       KY                                                               195.00   3.7     721.50




09/11/2019
       RA                                                               995.00   0.5     497.50




                                                 2
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 456955                       ATTORNEY-CLIENT COMMUNICATION
October 14, 2019


Date/Tkpr    Description of Work                       Rate Hours      Amount
09/12/2019
       RA                                             995.00   1.4    1,393.00



       KY                                             195.00   1.1     214.50




     LLW                                              195.00   0.7     136.50


09/18/2019
     RTM                                              695.00   0.5     347.50




       KY                                             195.00   0.2      39.00


     LLW                                              195.00   1.8     351.00




09/20/2019
     RTM                                              695.00   0.5     347.50
                               .

09/23/2019
       RA                                             995.00   1.0     995.00

                                                 .




                                     3
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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 456955                                   ATTORNEY-CLIENT COMMUNICATION
October 14, 2019


Date/Tkpr     Description of Work                                     Rate Hours       Amount
        RTM                                                          695.00   0.5      347.50


09/26/2019
        RTM                                                          695.00   0.5      347.50
                                                                 .

09/27/2019
        RTM                                                          695.00   0.2      139.00


09/30/2019
        LLW                                                          195.00   1.3      253.50
                                                     .


               Total Current Fees                                                   $16,586.00




                                     Schedule of Other Charges

Date          Description                                                              Amount
10/03/2019    Agreed Upon 3% Administrative Charge                                    $497.58


               Total Other Charges                                                    $497.58

Total Current Fees, Charges & Disbursements                                         $17,083.58




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Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 456955                                    ATTORNEY-CLIENT COMMUNICATION
October 14, 2019



                                              Amounts Due

Date                       Invoice No.                 Original Amount    Outstanding Amount
03/20/2019                   455243                         $124,577.55          $49,595.85

08/09/2019                   455602                           46,764.58           46,764.58

08/09/2019                   455896                           45,005.85           45,005.85

08/09/2019                   456029                           16,538.20           16,538.20

08/09/2019                   456252                           49,638.28           49,638.28

08/22/2019                   456525                           45,912.18           45,912.18

09/24/2019                   456785                           12,812.17           12,812.17


Previous Balance                                                                $266,267.11
Total Current Fees, Charges & Disbursements                                       17,083.58

TOTAL AMOUNT DUE                                                           USD $283,350.69




                                                  5
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 456955                                     ATTORNEY-CLIENT COMMUNICATION
October 14, 2019



                                       Payment Instructions


Total Amount Due:

        USD $283,350.69

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT, please remit the amount due to:




          with any questions.



                                                               Kobre & Kim
                                                               +852 2127 3288



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    Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 98 of 143




                                                                     December 2, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 457377


Enclosed please find our invoice for the period ending October 31, 2019 in the amount of USD
$12,456.82, including disbursements. Together with an outstanding balance of USD $258,350.69,
the total amount due is USD $270,807.51. Please note that payment is due upon receipt of this
invoice.

Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
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Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                 December 02, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 457377



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending October 31, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                               5.1 hours            $995/hour                     $5,074.50
Associate                            10.1 hours             695/hour                      7,019.50
Disbursements                                                                                  0.00
Agreed Upon 3% Administrative Charge                                                       362.82

TOTAL CURRENT INVOICE                                                                   $12,456.82
PREVIOUS BALANCE                                                                        258,350.69

TOTAL AMOUNT DUE                                                                 USD $270,807.51


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
                                 17,083.58              12,812.17              228,454.94


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.




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Rob Seiden                                                PRIVILEGED & CONFIDENTIAL
Invoice No. 457377                                   ATTORNEY-CLIENT COMMUNICATION
December 2, 2019




                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours    Amount

10/15/2019
       RA                                                              $995.00   0.8   $796.00

                                                     .


       RA                                                               995.00   0.1     99.50


       RH                                                               995.00   1.0    995.00




     RTM                                                                695.00   4.0   2,780.00




10/16/2019
       RA                                                               995.00   0.2    199.00


       RH                                                               995.00   0.1     99.50



       RH                                                               995.00   0.8    796.00


       RA                                                               995.00   0.1     99.50

     RTM                                                                695.00   1.0    695.00
                                           .



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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 457377                       ATTORNEY-CLIENT COMMUNICATION
December 2, 2019


Date/Tkpr    Description of Work                       Rate Hours     Amount
10/17/2019
       RH                                             995.00   1.4   1,393.00



       RA                                             995.00   0.3     298.50




     RTM                                              695.00   3.0   2,085.00




10/18/2019
       RH                                             995.00   0.2     199.00



10/23/2019
     RTM                                              695.00   1.0     695.00



10/24/2019
       RA                                             995.00   0.1      99.50


     RTM                                              695.00   0.5     347.50



10/29/2019
     RTM                                              695.00   0.3     208.50




                                     3
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Rob Seiden                                                   PRIVILEGED & CONFIDENTIAL
Invoice No. 457377                                      ATTORNEY-CLIENT COMMUNICATION
December 2, 2019


Date/Tkpr    Description of Work                                             Rate Hours        Amount
10/31/2019
       RTM                                                                  695.00   0.3         208.50



              Total Current Fees                                                             $12,094.00




                                         Schedule of Other Charges

Date         Description                                                                       Amount
11/04/2019   Agreed Upon 3% Administrative Charge                                               $362.82


              Total Other Charges                                                               $362.82

Total Current Fees, Charges & Disbursements                                                  $12,456.82


                                               Amounts Due

Date                       Invoice No.                    Original Amount            Outstanding Amount
03/20/2019                  455243                            $124,577.55                    $24,595.85

08/09/2019                  455602                              46,764.58                     46,764.58

08/09/2019                  455896                              45,005.85                     45,005.85

08/09/2019                  456029                              16,538.20                     16,538.20

08/09/2019                  456252                              49,638.28                     49,638.28

08/22/2019                  456525                              45,912.18                     45,912.18

09/24/2019                  456785                              12,812.17                     12,812.17

10/14/2019                  456955                              17,083.58                     17,083.58




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Rob Seiden                                             PRIVILEGED & CONFIDENTIAL
Invoice No. 457377                                ATTORNEY-CLIENT COMMUNICATION
December 2, 2019


Previous Balance                                                         $258,350.69
Total Current Fees, Charges & Disbursements                                12,456.82

TOTAL AMOUNT DUE                                                     USD $270,807.51




                                              5
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 457377                                     ATTORNEY-CLIENT COMMUNICATION
December 2, 2019



                                       Payment Instructions


Total Amount Due:

        USD $270,807.51

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT,




Or, if by check, make payable and mail to:




Please call with any questions.



                                                               Kobre & Kim
                                                               +852 2127 3288



                                                6
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                                                                     December 23, 2019

PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION

BY E-MAIL

Robert W. Seiden, Esq, , as Court Appointed Receiver for Link
Motion, Inc. pursuant to the Order of The Honorable Judge
Victor Marrero of The Southern District of New York

              Re:    Invoice for Services Rendered
                     Representation For legal services in Hong Kong, Cayman Islands & The
                     People’s Republic of China as requested & needed by Court Appointed
                     Receiver & approved by the Court in accordance with its Order approving
                     retention of Kobre & Kim to perform such work
                     Matter No. 01381.002, Invoice No. 457601


Enclosed please find our invoice for the period ending November 30, 2019 in the amount of USD
$6,338.11, including disbursements. Together with an outstanding balance of USD $245,789.21, the
total amount due is USD $252,127.32. Please note that payment is due upon receipt of this invoice.



Additionally, please note that payments received recently may not be reflected in this invoice and
will appear as a credit on the next invoice. We appreciate the opportunity to work with you on this
case. Please call with any questions.


                                                                   Kobre & Kim
                                                                   +852 2127 3288
Encl.
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Robert W. Seiden, Esq, , as Court Appointed Receiver for Link                 December 23, 2019
Motion, Inc. pursuant to the Order of The Honorable Judge                    Matter No. 01381.002
Victor Marrero of The Southern District of New York                           Invoice No. 457601



PRIVILEGED & CONFIDENTIAL
ATTORNEY-CLIENT COMMUNICATION


Re:       Invoice for Services Rendered for the period ending November 30, 2019
          Representation For legal services in Hong Kong, Cayman Islands & The People’s Republic

                              Summary of Professional Services (USD)

Partner                               4.6 hours            $995/hour                     $4,577.00
Associate                             2.1 hours             695/hour                      1,459.50
Litigation Support                    0.6 hours             195/hour                         117.00
Disbursements                                                                                  0.00
Agreed Upon 3% Administrative Charge                                                       184.61

TOTAL CURRENT INVOICE                                                                    $6,338.11
PREVIOUS BALANCE                                                                        245,789.21

TOTAL AMOUNT DUE                                                                 USD $252,127.32


                                          Aging Summary

           0-30 days             31-60 days             61-90 days            Over 90 days
          $18,794.93                                    29,895.75              203,436.64


                                           Payment Terms
 Payment is due upon receipt. For instructions on remitting payment by wire, EFT, or check, please
                                  see the last page of this invoice.


                                                  1
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 457601                                     ATTORNEY-CLIENT COMMUNICATION
December 23, 2019




                                   Schedule of Professional Services

Date/Tkpr    Description of Work                                         Rate Hours    Amount

11/04/2019
       RA                                                              $995.00   0.1   $99.50


       RH                                                               995.00   0.1    99.50
                        .

       RH                                                               995.00   0.1    99.50


     RTM                                                                695.00   0.1    69.50
                        .

11/05/2019
       RH                                                               995.00   0.7   696.50



       RA                                                               995.00   0.1    99.50


11/12/2019
       RH                                                               995.00   0.1    99.50
                                               .

11/14/2019
       RH                                                               995.00   0.2   199.00



       RH                                                               995.00   0.3   298.50




                                                   2
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Rob Seiden                                    PRIVILEGED & CONFIDENTIAL
Invoice No. 457601                       ATTORNEY-CLIENT COMMUNICATION
December 23, 2019


Date/Tkpr    Description of Work                       Rate Hours     Amount
11/15/2019
       RH                                             995.00   0.1      99.50



       RH                                             995.00   0.3     298.50


                                     .



11/18/2019
     NMF                                              195.00   0.6     117.00


       RH                                             995.00   0.1      99.50



11/19/2019
       RH                                             995.00   0.4     398.00



       RH                                             995.00   0.2     199.00



       RH                                             995.00   0.3     298.50




       RH                                             995.00   0.2     199.00




                                     3
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Rob Seiden                                               PRIVILEGED & CONFIDENTIAL
Invoice No. 457601                                  ATTORNEY-CLIENT COMMUNICATION
December 23, 2019


Date/Tkpr    Description of Work                                 Rate Hours     Amount
        RH                                                      995.00   0.1      99.50



11/20/2019
        RH                                                      995.00   1.0     995.00




        RH                                                      995.00   0.2     199.00



11/27/2019
       RTM                                                      695.00   2.0    1,390.00




              Total Current Fees                                               $6,153.50




                                    Schedule of Other Charges

Date         Description                                                        Amount
12/03/2019   Agreed Upon 3% Administrative Charge                               $184.61


              Total Other Charges                                               $184.61




                                               4
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Rob Seiden                                                 PRIVILEGED & CONFIDENTIAL
Invoice No. 457601                                    ATTORNEY-CLIENT COMMUNICATION
December 23, 2019


Total Current Fees, Charges & Disbursements                                       $6,338.11


                                              Amounts Due

Date                       Invoice No.                 Original Amount   Outstanding Amount
08/09/2019                   455602                         $46,764.58           $46,342.13

08/09/2019                   455896                          45,005.85            45,005.85

08/09/2019                   456029                          16,538.20            16,538.20

08/09/2019                   456252                          49,638.28            49,638.28

08/22/2019                   456525                          45,912.18            45,912.18

09/24/2019                   456785                          12,812.17            12,812.17

10/14/2019                   456955                          17,083.58            17,083.58

12/02/2019                   457377                          12,456.82            12,456.82




Previous Balance                                                                $245,789.21
Total Current Fees, Charges & Disbursements                                        6,338.11

TOTAL AMOUNT DUE                                                           USD $252,127.32




                                                  5
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Rob Seiden                                                  PRIVILEGED & CONFIDENTIAL
Invoice No. 457601                                     ATTORNEY-CLIENT COMMUNICATION
December 23, 2019



                                       Payment Instructions


Total Amount Due:

        USD $252,127.32

Payment Terms:

        Payment is due upon receipt of this invoice.

If by wire or EFT, please remit the amount due to:




Or, if by check,




Please call with any questions.



                                                               Kobre & Kim
                                                               +852 2127 3288



                                                6
Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 112 of 143
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH     KWL    AO   Total
   01-Mar-19



                                                                              0.7             0.8               4.0                   5.5




   02-Mar-19
                                                                                              0.2                                     0.2
   04-Mar-19
                                                                              0.2             0.4               2.2                   2.8
                                                                     .
   05-Mar-19

                                                                              1.1             1.6               3.5                   6.2


   06-Mar-19

                                                                              2.0             2.3               5.6    1.0           10.9


   07-Mar-19


                                                                              0.2             0.3               4.1    1.0            5.6



   08-Mar-19



                                                                              0.2             1.5               8.1    4.0           13.8



                             .
                                      Case 1:18-cv-11642-VM-VF Document 376-5 Filed 11/18/22 Page 114 of 143
Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH     KWL   AO   Total
   11-Mar-19

                                                                              0.6    2.0      0.2     0.7       2.1                  5.6


   12-Mar-19



                                                                              1.3    1.0      3.3               2.8                  8.4




   13-Mar-19

                                                                              1.8    1.0      2.5               3.3                  8.6



   14-Mar-19


                                                                              0.4    1.0      1.3     2.3       3.1                  8.1

                                                      .
   15-Mar-19



                                                                              1.2             2.3               2.1                  5.6
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH     KWL    AO   Total
   18-Mar-19



                                                                              0.2    0.3      0.7               2.3                   3.5




   19-Mar-19
                                                                                              1.3     0.8       3.3                   5.4


   20-Mar-19



                                                                              0.2    0.3      0.7     0.3       3.2                   4.7



                                                     .
   21-Mar-19



                                                                              0.2    0.5      0.8     0.4       4.1    1.2            7.2




   22-Mar-19


                                                                              0.3    0.5      0.8     1.2       3.9                   6.7
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                       LW     BH     LLH      RC         RH     KWL   AO   Total
   25-Mar-19


                                                                              0.2             2.7     0.5       5.2                  8.6



   26-Mar-19

                                                                              0.4                     0.3       4.7                  5.4

                                                                         .
   27-Mar-19



                                                                              0.3             1.7     0.8       5.2                  8.0




   28-Mar-19


                                                                              0.3             1.8               5.5                  7.6




   29-Mar-19




                                                                              1.7    1.0      2.3     1.4       7.3                 13.7
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                          LW     BH     LLH     RC       RH     KWL   AO   Total
   01-Apr-19

                                                                                 0.1            4.5             7.5                 12.1


   02-Apr-19


                                                                                 0.3            6.9    0.4      8.0                 15.6

                                                        .
   03-Apr-19




                                                                                 1.0            4.8             7.8                 13.6




   04-Apr-19



                                                                                 0.4    1.0     0.3    0.3      4.5                  6.5




   08-Apr-19

                                                                                 1.0    1.0     0.1    0.4      3.4                  5.9

                                                  .
   09-Apr-19

                                                                                 1.8    0.5     0.5    0.2      5.9                  8.9
                                                            of funds and bank
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH     KWL    AO   Total
   10-Apr-19

                                                                              1.3    0.3      0.3               4.2                   6.1


   11-Apr-19


                                                                              1.1             0.4               2.2                   3.7



   12-Apr-19


                                                                              0.3             0.7               2.8                   3.8




   15-Apr-19                                                                                                    0.3                   0.3
   16-Apr-19

                                                                                              0.1     0.2       0.2    0.3            0.8


   17-Apr-19
                                                                                              0.1                                     0.1
   23-Apr-19

                                                                              0.4             1.1               1.5                   3.0


   24-Apr-19

                                                                              0.4             1.1     1.3       2.1                   4.9
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH     KWL   AO   Total
   26-Apr-19
                                                                                              0.2     0.6       0.5                  1.3


   30-Apr-19

                                                                              0.3             0.8     0.3       1.0                  2.4



  02-May-19

                                                                              0.4             0.9               3.5                  4.8


  03-May-19
                                                                              0.3             1.0               3.3                  4.6


  05-May-19
                                                                              0.2             0.2                                    0.4
  06-May-19
                                                                                                                2.8                  2.8

  07-May-19
                                                                              0.1             0.3                                    0.4

  10-May-19
                                                                                                                0.8                  0.8


  14-May-19



                                                                              0.2             0.3               6.2                  6.7
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

   Date     Work Done                                                      LW       BH     LLH      RC         RH     KWL    AO   Total
  15-May-19

                                                                              0.2             0.4               0.8                   1.4


  16-May-19
                                                                              0.3             0.9               2.1    0.7            4.0


  20-May-19
                                                                                                                3.0                   3.0


  21-May-19
                                                                                                                0.4                   0.4
  22-May-19
                                                                              0.1             0.2               0.7                   1.0


  23-May-19
                                                                              0.1             0.2               0.9                   1.2


  25-May-19
                                                                                              0.2                                     0.2

  27-May-19
                                                                                                      1.7                             1.7
  29-May-19
                                                                                              0.2                                     0.2
  31-May-19


                                                                              0.2             1.0               2.3                   3.5
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH     KWL   AO   Total
   03-Jun-19
                                                                              0.1             0.3               0.8                  1.2


   05-Jun-19


                                                                              0.3             1.0               1.2                  2.5



   06-Jun-19



                                                                              0.2             0.5               1.5                  2.2




   10-Jun-19




                                                                                              0.2     0.6       2.5                  3.3




   11-Jun-19


                                                                              0.3             1.0               1.9                  3.2
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH     KWL    AO     Total
   12-Jun-19


                                                                                                                3.5           2.1       5.6



   13-Jun-19

                                                                              0.2             0.4               1.2    0.8              2.6


   14-Jun-19


                                                                              0.1             0.2               4.3    0.3    7.4      12.3



   18-Jun-19
                                                                                                                0.7                     0.7


   19-Jun-19


                                                                              0.3             0.5               2.2                     3.0



   20-Jun-19




                                                                                                                2.1           3.5       5.6




   21-Jun-19
                                                                                                                              7.0       7.0
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                       LW       BH      LLH      RC        RH       KWL    AO      Total
   24-Jun-19
                                                                                                                    0.7            8.0       8.7

   25-Jun-19
                                                                                                                    0.3            8.0       8.3

   26-Jun-19

                                                                                0.2              0.3                2.2            4.5       7.2


   27-Jun-19
                                                                                                 0.2                2.5                      2.7

   28-Jun-19
                                                                                                 0.2                0.8            2.8       3.8


               Total Hours                                                     25.7    10.4     62.0    14.7      192.7    9.3    43.3     358.1

               Charge-out-rates (US$)                                          790     790      640     290        290      80     80

               Total Fees (US$):                                             20,303   8,216   39,680   4,263     55,883    744   3,464   132,553
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Link Motion Inc
Summary of time costs for the period from 1 March 2019 to 30 June 2019

    Date     Work Done                                                     LW       BH     LLH      RC         RH   KWL   AO   Total
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC   RH         EW   ZL   SHN   KHW   EL   KWL   AO     Total
02-Jul-19




                                                                   0.2          0.8                   4.3                                     4.5       9.8




03-Jul-19

                                                                                                      1.5                                     4.0       5.5


04-Jul-19


                                                                   0.3                                1.1                                     3.5       4.9




05-Jul-19


                                                                                                      1.2                                     2.0       3.2



08-Jul-19




                                                                   0.2                                4.3                                               4.5




09-Jul-19


                                                                                0.7                   3.3                                               4.0
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC   RH         EW     ZL   SHN     KHW   EL   KWL   AO   Total
10-Jul-19
                                                                                                      0.5                                                 0.5

11-Jul-19




                                                                                                      3.7    1.3                                          5.0




12-Jul-19




                                                                   0.4          1.5                   3.7    1.5                                          7.1




13-Jul-19

                                                                                0.2                   2.0                                                 2.2


15-Jul-19


                                                                                0.2                   0.6                                                 0.8

                 he CR
16-Jul-19    R




                                                                                0.2                   2.0                 0.6                             2.8
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC   RH         EW   ZL    SHN     KHW   EL   KWL    AO   Total
17-Jul-19



                                                                   0.6          1.3                   6.8                0.6                              9.3




18-Jul-19
                                                                   0.2                                2.9                                                 3.1


19-Jul-19




                                                                   0.1          0.5                   4.6                                  0.2            5.4




22-Jul-19
                                                                   0.1                                0.1                                                 0.2

23-Jul-19


                                                                   0.5          0.1                   2.0        0.5                       3.0            6.1



24-Jul-19
                                                                                0.1                                                                       0.1

25-Jul-19
                                                                   0.1                                0.5                                  0.2            0.8

26-Jul-19
                                                                                                      0.8                                  0.2            1.0
29-Jul-19
                                                                                0.0                                                                       0.0
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                                LW     BH   LLH   KHL   RC   RH         EW     ZL   SHN   KHW   EL   KWL    AO   Total
30-Jul-19    Attending call with SCB re arrangement for change
             of correspondence address and authorized
             signatories of LKM and its subsidiaries; Attending
             call and emailing Ryan of KK re status update for
             the court application to rectify CR records; Replying
             Mr Guo through wechat re status update in relation
                                                                                                        6.3                                                6.3
             to the court application to rectify CR records;
             Reviewing purchase agreements of FL Mobile and
             Showself provided by Mr Guo; Conducting research
             on business activities and news of LKM; Updating
             control log re reply of banks inside/outside HK to
             our letter dated 23/7/2019
31-Jul-19    Attending call with Ms Eng of SCB re arrangement
             for change of correspondence address and
             authorized signatories of LKM and its subsidiaries;
             Attending call with Ryan of KK re court application                                        0.7                                                0.7
             to rectify CR records and status update; Perusing
             and considering emails from the US Receiver's
             office and Mr Guo
01-Aug-19    Attending call with Ryan confirming court hearing
             date re removing unauthorized documents from
             CR; Requesting copy of the HK Receiver's
             affirmation's exhibits filed with the court; Reviewing
                                                                                                        1.3                                                1.3
             and updating document bundles re HK Receiver's
             affirmation; Updating control log re banks
             inside/outside HK in reply to our letter dated
             23/7/2019
05-Aug-19    Reviewing correspondences between Mr Guo and
             i) China Merchants Bank, ii) People's Bank of
             China, iii) China Banking and Insurance Regulatory
             Commission provided by Mr Guo; Reviewing PRC
             judgments to prohibit the PRC subsidiary to change
             the records of legal representative maintained with
             the PRC bank dated 28 May 2019 and 3 July 2019
             provided by Mr Guo; Preparing and finalizing draft        0.3                              6.2    0.5                                         7.0
             letter to China Banking Regulatory Commission
             requesting for an explanation from China
             Merchants Bank in relation to their time spent on
             conducting customer verification and procedure to
             change bank account's registered legal
             representative
06-Aug-19    Revising letter to China Banking Regulatory
             Commission according to Mr Guo's comments;
             Reviewing bank transactions in 2015-2016;
             Updating logsheet summary re banks                                                         4.7    1.3                          0.1            6.1
             inside/outside HK in reply to our letter dated
             23/7/2019
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC   RH         EW     ZL   SHN     KHW   EL   KWL    AO   Total
07-Aug-19



                                                                   0.2                                3.5    0.7                                           4.4




08-Aug-19
                                                                                                      3.8                                                  3.8

09-Aug-19
                                                                                0.1                   2.4                                                  2.5

12-Aug-19

                                                                                                      0.4                                                  0.4


13-Aug-19
                                                                                0.1                   0.1                                                  0.2
14-Aug-19
                                                                                                      0.4                 0.4                              0.8

15-Aug-19



                                                                                0.1                   0.8                 1.7                              2.6




16-Aug-19                                                                                             3.4                 0.4                              3.8
19-Aug-19



                                                                                                      0.9                                                  0.9




21-Aug-19
                                                                                                      2.4                                   0.2            2.6
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH     LLH     KHL   RC     RH         EW   ZL   SHN   KHW   EL   KWL    AO   Total
27-Aug-19

                                                                   0.2            0.7                                                                      0.9


28-Aug-19
                                                                                  0.5                                                                      0.5
30-Aug-19
                                                                                  0.6                                                                      0.6

02-Sep-19
                                                                   0.1            0.3                                                       0.3            0.7

03-Sep-19
                                                                                                                                            0.1            0.1

04-Sep-19
                                                                                                          0.6                                              0.6
05-Sep-19


                                                                                                          3.5                                              3.5




06-Sep-19


                                                                   0.1    0.3                             2.9                                              3.3




09-Sep-19

                                                                                                          2.0                                              2.0


10-Sep-19
                                                                                  1.0                                                                      1.0
12-Sep-19                                                  t
                                                                                  0.2                     0.3                                              0.5

16-Sep-19
                                                                          0.5                  0.5                                                         1.0
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC   RH         EW   ZL   SHN   KHW   EL   KWL   AO   Total
17-Sep-19




                                                                   0.3          1.1                   1.5                                             2.9




18-Sep-19
                                                                                                      0.3                                             0.3


19-Sep-19

                                                                                                      1.4                                             1.4


23-Sep-19
                                                                                                      0.1                                             0.1
24-Sep-19



                                                                                                      2.2                                             2.2




25-Sep-19




                                                                   0.1          0.8                   1.4                                             2.3




26-Sep-19

                                                                                                      1.3                                             1.3


27-Sep-19


                                                                                                      1.2                                             1.2
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC     RH         EW     ZL   SHN   KHW   EL   KWL   AO   Total
02-Oct-19

                                                                                0.5                     0.8                                               1.3


03-Oct-19



                                                                                             0.8        2.1                                               2.9




08-Oct-19
                                                                   0.1                                  0.3                                               0.4


09-Oct-19
                                                                                             0.3                                                          0.3
15-Oct-19



                                                                                0.1                     2.2                                               2.3




17-Oct-19
                                                                                                        0.5                                               0.5
21-Oct-19

                                                                                0.5                     1.6                                               2.1


22-Oct-19



                                                                                0.2                     3.9                                               4.1




23-Oct-19


                                                                   0.1          0.2                     3.9    1.1                                        5.3
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC   RH         EW   ZL   SHN   KHW   EL   KWL   AO   Total
24-Oct-19


                                                                                                      2.3                                             2.3



28-Oct-19


                                                                                0.2                   1.3                                             1.5



29-Oct-19




                                                                                0.3                   1.8                                             2.1




30-Oct-19
                                                                                0.2                                                                   0.2
01-Nov-19




                                                                                                      1.3                                             1.3




04-Nov-19




                                                                   0.1                                0.9                                             1.0
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH   LLH     KHL   RC     RH         EW   ZL   SHN   KHW   EL   KWL   AO   Total
05-Nov-19

                                                                                             0.4        0.7                                             1.1


08-Nov-19
                                                                                                        0.3                                             0.3
19-Nov-19


                                                                                                        2.5                                             2.5




20-Nov-19
                                                                                                        0.3                                             0.3


21-Nov-19
                                                                                                        0.3                                             0.3


27-Nov-19




                                                                                                        1.3                                             1.3




02-Dec-19

                                                                                0.5                     1.7                                             2.2


03-Dec-19
                                                                                                        2.3                                             2.3

04-Dec-19




                                                                   0.1          0.2                     2.2                                             2.5
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH     LLH     KHL     RC     RH         EW     ZL   SHN   KHW   EL   KWL   AO   Total
05-Dec-19




                                                                                                            3.4                                               3.4




06-Dec-19
                                                                                                            4.5                                               4.5


10-Dec-19

                                                                                                            0.1                                               0.1


11-Dec-19
                                                                                                            1.0                                               1.0

17-Dec-19
                                                                                                            0.2                                               0.2
18-Dec-19
                                                                                                            0.4                                               0.4
20-Jan-20
                                                                                  1.0                                                                         1.0


21-Jan-20

                                                                                  0.3                              0.4                                        0.7


10-Mar-20                                                                                                          0.5                                        0.5
13-Mar-20
                                                                                  0.1                                                                         0.1

25-Mar-20
                                                                                          0.3                                                                 0.3

14-Apr-20
                                                                                                 0.3                                                          0.3
15-Apr-20
                                                                          0.3                    0.2                                                          0.5
16-Apr-20
                                                                   0.1            0.1                                                                         0.2
22-Apr-20
                                                                   0.1            0.1                                                                         0.2
28-Apr-20                                                                                        0.2                                                          0.2
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW       BH     LLH      KHL     RC      RH       EW      ZL    SHN     KHW    EL      KWL    AO      Total
06-May-20                                                                                          0.2                                                                    0.2
12-May-20
                                                                                   0.5     2.5                                                          0.1               3.1
13-May-20                                                                                  2.5                                                                            2.5
18-May-20
                                                                                   0.5                                                                  0.3               0.8

20-May-20
                                                                                   0.3                                                                  0.3               0.6
25-May-20                                                                                                                                               0.1               0.1
26-May-20
                                                                   0.1             0.1                                                                                    0.2
04-Jun-20
                                                                                                                                         0.3                              0.3
09-Jun-20
                                                                                   0.1                                                   0.5                              0.6
23-Jun-20
                                                                                   0.1                                                                                    0.1
29-Jun-20
                                                                                                                                                 2.3                      2.3
30-Jun-20
                                                                                                                                                 3.0                      3.0


                                                                   4.7    1.1     17.2     5.3     2.9    146.0     7.3   0.5     3.7    0.8     5.3    5.1    14.0     213.9

             Charge-out-rates (US$)                                790    790     790      500    290      290     290    204    204     204    204      80     80

             Total Fees (US$):                                   3,713    869   13,627   2,650    841    42,340   2,117   102    755     163   1,081    408   1,120   69,787
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Link Motion Inc
Summary of time costs for the period from 1 July 2019 to 30 June 2020

    Date     Work Done                                          LW      BH   LLH   KHL   RC   RH   EW    ZL   SHN   KHW   EL   KWL   AO   Total
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